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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


ROBIN SHAHINI,

              Plaintiff,

      v.                                               Civil Action No. 1:18-cv-01619 (CJN)

ISLAMIC REPUBLIC OF IRAN, et al.,

              Defendants.


                                             ORDER

       This matter is before the Court on the Plaintiff’s Motions for Default Judgment, ECF

Nos. 37-1 and 43.

       For the reasons stated in the accompanying Memorandum Opinion, it is

       ORDERED that the Plaintiff’s Motions, ECF Nos. 37-1 and 43, are GRANTED in part

and DENIED in part; and it is further

       ORDERED that Plaintiff is awarded $24,763,696 in total damages.

       This is a final appealable order.

       The clerk is directed to terminate this case.


DATE: February 24, 2023
                                                             CARL J. NICHOLS
                                                             United States District Judge
